          Case 8:20-cv-00265-CEH-TGW Document 5 Filed 02/04/20 Page 1 of 3 PageID 57

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


                        Thomas Nestor                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 8:20-cv-00265-T-36TGW
                                                                     )
         VPC3 II, LLP, and N.E. APARTMENTS                           )
                  ASSOCIATES, INC.,                                  )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) N.E. APARTMENTS ASSOCIATES, INC.
                                           11344 NW 22 Street
                                           Miami, FL 33142




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Amber Robinson
                                           Robinson Law Office PLLC
                                           695 Central Ave Ste. 264 St. Petersburg, FL 33701, 8136132400




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:    Feb 04, 2020                                                             TelishaCatchings
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          Case 8:20-cv-00265-CEH-TGW Document 5 Filed 02/04/20 Page 2 of 3 PageID 58

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


                        Thomas Nestor                                )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 8:20-cv-00265-T-36TGW
                                                                     )
         VPC3 II, LLP, and N.E. APARTMENTS                           )
                  ASSOCIATES, INC.,                                  )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) VPC3 II, LLP
                                           6830 Central Avenue, Suite C
                                           St. Petersburg, FL 33707




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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                                           695 Central Ave Ste. 264 St. Petersburg, FL 33701, 8136132400




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Date:   Feb 04, 2020                                                              TelishaCatchings
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           Case 8:20-cv-00265-CEH-TGW Document 5 Filed 02/04/20 Page 3 of 3 PageID 59

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:20-cv-00265

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
